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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                 §
In re:                                           §   Chapter 11
                                                 §
WATSON GRINDING &                                §   Case No. 20-30967 (MI)
MANUFACTURING CO.                                §
                                                 §
             Debtors.                            §
                                                 §
In re:                                           §   Chapter 11
                                                 §
WATSON VALVE SERVICES, INC.                      §   Case No. 20-30968 (MI)
                                                 §
                                                 §
             Debtor.                             §

                      NOTICE OF ELECTRONIC HEARING ON
                JANUARY 24 CLAIMANTS COMMITTEE’S EMERGENCY
               MOTION FOR APPOINTMENT OF CHAPTER 11 TRUSTEES

         PLEASE TAKE NOTICE that the hearing scheduled by the Bankruptcy Court to consider

the Official Committee of January 24 Claimants’ Emergency Motion for Appointment of Chapter

11 Trustees will be held June 2, 2020, at 2:30 p.m. before the Honorable Marvin Isgur, United

States Bankruptcy Judge, 515 Rusk Street, Courtroom 400, Houston, Texas 77002 (the “Hearing”).

         On March 9, 2020, the Bankruptcy Court for the Southern District of Texas (the “Court”)

entered the Order Adopting Hearing Protocols that may be Implemented under Certain Public

Health or Safety Conditions (the “Protocol”). A copy of the Protocol is attached hereto as Exhibit

“A”. On March 24, 2020, the Court entered the Order Invoking Emergency Protocol for

Brownsville, Galveston, and Houston Divisions (the “Order”), which implemented the Protocol

with respect to all cases in the Houston division, including the above-captioned cases. A copy of

the Order is attached hereto as Exhibit “B”.




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       The Court will use both audio and video communication. If you want to see the documents

as presented to the Court and hear the proceeding you should be (i) dialed in through the audio

system, and (ii) logged into the Court’s video via www.join.me.

Audio Communication

       Audio communication will be by use of the Court’s regular dial-in number. The dial-in

number is 832-917-1510. You will be responsible for your own long-distance charges. Judge Isgur’

conference room number is 954554. Parties are encouraged to review the Court’s procedures for

telephonic appearances located at:

https://www.txs.uscourts.gov/sites/txs/files/Court%20Procedures%20February%2012%2C%202

020.pdf

       Each person who speaks at the electronic hearing should be prepared to restate that person’s

name each time that the person speaks in order to assist any transcriber of the audio recording.

Video Communication

       Any evidence and demonstrative exhibits will be offered from a remote location. Parties

may participate in electronic hearings by use of an internet connection. The website is

www.join.me. Persons connecting by mobile device will need to download the free join.me

application.

       Once connected to www.join.me, a participant must select “Join a Meeting.” The code for

joining the Combined Hearing before Judge Isgur is “judgeisgur”. The next screen will have a

place for the participant’s name in the lower left corner. Please complete the name and click

“Notify.”

       In accordance with the Protocol, parties must file exhibits on the Court’s docket for ease

of reference. Each exhibit should be filed as a separate attachment to an Exhibit List in compliance

with BLR 9013-2.

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       Witnesses must appear via audio and video connection. Any person wishing to cross-

examine any witness will be permitted to do so during the hearing.

       All documents filed in these Chapter 11 Cases may be obtained by visiting the Court’s

website at https://ecf.txsb.uscourts.gov in accordance with the procedures and fees set forth

therein.

Dated: May 30, 2020.

                                             Respectfully submitted,

                                             PORTER HEDGES LLP

                                             /s/ Joshua W. Wolfshohl
                                             Joshua W. Wolfshohl
                                             State Bar No. 24038592
                                             Aaron J. Power
                                             State Bar No. 24058058
                                             1000 Main Street, 36th Floor
                                             Houston, Texas 77002
                                             (713) 226-6000
                                             (713) 226-6248 (fax)
                                             jwolfshohl@porterhedges.com
                                             apower@porterhedges.com

                                             COUNSEL FOR THE OFFICIAL COMMITTEE
                                             OF JANUARY 24 CLAIMANTS



                                CERTIFICATE OF SERVICE

       This will certify that a true and correct copy of the foregoing document was forwarded by
U.S. First Class Mail and via electronic transmission to all registered ECF users appearing in the
case on May 30, 2020.

                                             /s/ Joshua W. Wolfshohl
                                             Joshua W. Wolfshohl




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                        EXHIBIT A
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                                 EXHIBIT “C”
                      Emergency Hearing Contact Information

 Judge            Primary Contact                    Secondary Contact                Emergency
                                                                                       Hotline
Judge Isgur   Linhthu_Do@txs.uscourts.gov            Tyler_Laws@txs.uscourts.gov      Emergencyhearings
                                                                                      @txs.uscourts.gov

Judge Jones   Albert_Alonzo@txs.uscourts.gov       Vriana_Portillo@txs.uscourts.gov   Emergencyhearings
                                                                                      @txs.uscourts.gov

Judge         Rosario_Saldana@txs.uscourts.gov     Kimberly_Picota@txs.uscourts.gov   Emergencyhearings
Lopez                                                                                 @txs.uscourts.gov

Judge         Cristina_Camarata@txs.uscourts.gov     Mario_Rios@txs.uscourts.gov      Emergencyhearings
Norman                                                                                @txs.uscourts.gov

Judge         Norma_J_Chavez@txs.uscourts.gov        Ana_Castro@txs.uscourts.gov      Emergencyhearings
Rodriguez                                                                             @txs.uscourts.gov
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                         EXHIBIT B
                Case 20-30967 Document 312SERVICE
                                            Filed LIST
                                                  in TXSB on 05/30/20 Page 16 of 22
ERIN E JONES                       STEPHEN DOUGLAS STATHAM
CHRISTOPHER R MURRAY                                                  ASTRO ALLOYS INC
                                   OFFICE OF US TRUSTEE
JONES MURRAY & BEATTY LLP                                             9155 EMMOTT RD
                                   515 RUSK STE 3516
4119 MONTROSE STE 230                                                 HOUSTON TX 77040
                                   HOUSTON TX 77002
HOUSTON TX 77006

BAKER BOTTS LLP                    C&M TECHNOLOGIES GROUP INC         EARL M JORGENSEN
910 LOUISIAN ST STE 3200           350 NORTH SAINT PAUL ST            6201 LUMERDALE RD
HOUSTON TX 77002                   DALLAS TX 75201                    HOUSTON TX 77092


                                                                      HUNTER CHEMICAL LLC
GULFCO FORGE COMPANY               HALCO METALS
                                                                      220 COMMERCE DR
6817 INDUSTRIAL RD                 9611 TELGE RD
                                                                      STE 200
HOUSTON TX 77005                   HOUSTON TX 77095
                                                                      FORT WASHINGTON PA 19034


LINEAGE ALLOYS                     MATHESON TRI-GAS                   NORTH AMERICAN HOGANAS CO
1901 ELLIS SCHOOL RD               166 KEYSTONE DR                    111 HOGANAS WA
BAYTOWN TX 77521                   MONTGOMERYVILLE PA 18936           HOLLSOPPLE PA 15935



NORTON ROSE FULBRIGHT              PARRISH INTERNATIONAL INC          SCOTT STAINLESS SPECIALITIES
1301 MCKINNEY ST STE 1500          PO BOX 468                         501 GEORGIA AVENUE
HOUSTON TX 77010                   HEMPSTEAD TX 77445                 SOUTH HOUSTON TX 77587


                                   THYSSENKRUPP
TECHNICAL ENGINEERING LLC                                             TRICOR METALS
                                   ATTN: GENERAL COUNSEL
100 CHAPEL RD                                                         3517 N LOOP 336 W
                                   111 W JACKSON BLVD
MANCHESTER CT 6042                                                    CONROE TX 77304
                                   CHICAGO IL 60604

                                                                      WEBB INDUSTRIAL LLC
VICTORY METALS                     VINATECH ENGINEERING
                                                                      2433 LOFTON TERRACE
4125 HOLLISTER RD                  7747 FORMULA PLACE
                                                                      FORT WORTH TX 76109
HOUSTON TX 77080                   SAN DIEGO CA 92121


                                   TEXAS CAPITAL BANK                 INTERNAL REVENUE SERVICE
WATSON VALVE SERVICES INC
                                   C/O TIMOTHY MILLION                CENTRALIZED INSOLVENCY
4525 GESSNER RD
                                   600 TRAVIS ST                      OPERATION
HOUSTON TX 77041
                                   HOUSTON TX 77002                   PO BOX 7346
                                                                      PHILADELPHIA, PA 19101-7346
INTERNAL REVENUE SERVICE           RICHARD A KINCHELOE                ABIGAIL RUSHING RYAN AAG
300 E 8TH ST                       ASSISTANT UNITED STATES ATTORNEY   OFFICE OF THE AG OF TEXAS
MAIL STOP 5026AUS                  SOUTHERN DISTRICT OF TEXAS         BANKRUPTCY & COLLECTIONS DIV
AUSTIN TX 78701                    1000 LOUISIANA ST STE 2300         PO BOX 12548-MC 008
                                   HOUSTON TX 77002                   AUSTIN TX 78711-2548
JASON B BINFORD
OFFICE OF THE AG OF TEXAS          MICHAEL I. RAMIREZ                 J SCOTT DOUGLASS
BANKRUPTCY & COLLECTIONS DIV       MCCOY LEAVITT ET. AL.              1811 BERING DR STE 420
P O BOX 12548-MC 008               20726 STONE OAK PKWY STE 116       HOUSTON TEXAS 77057
AUSTIN TEXAS 78711-2548            SAN ANTONIO, TEXAS 78232
                Case 20-30967 Document 312 Filed in TXSB on 05/30/20 Page 17 of 22
MUHAMMAD AZIZ                      HENRY FLORES                     KENNETH M KROCK
ABRAHAM WATKINS NICHOLS            RAPP & KROCK PC                  RAPP & KROCK PC
SORRELS AGOSTO AZIZ & STOGNER      1980 POST OAK BLVD STE 1200      1980 POST OAK BLVD STE 1200
800 COMMERCE ST                    HOUSTON TEXAS 77056              HOUSTON TEXAS 77056
HOUSTON TEXAS 77002
JOHN P DILLMAN                     JARROD B MARTIN                  KATE H EASTERLING
LINEBARGER GOGGAN BLAIR &          MCDOWELL HETHERINGTON LLP        MCDOWELL HETHERINGTON LLP
SAMPSON LLP                        1001 FANNIN STE 2700             1001 FANNIN STE 2700
PO BOX 3064                        HOUSTON TX 77002                 HOUSTON TX 77002
HOUSTON TX 77253-3064
                                                                    HOLLAND N O’NEIL
AVISHAY MOSHENBERG                 ERIKA L MORABITO
                                                                    FOLEY & LARDNER LLP
MCDOWELL HETHERINGTON LLP          FOLEY & LARDNER LLP
                                                                    2021 MCKINNEY AVENUE STE 1600
1001 FANNIN STE 2700               3000 K ST NW STE 600
                                                                    DALLAS TX 75201
HOUSTON TX 7700                    WASHINGTON DC 20007

RANDALL J POELMA JR                WILLIAM T SEBESTA                BRUCE J RUZINSKY
DOYEN SEBESTA & POELMA LLLP        DOYEN SEBESTA & POELMA LLLP      JACKSON WALKER LLP
450 GEARS RD STE 350               450 GEARS RD STE 350             1401 MCKINNEY ST STE 1900
HOUSTON TX 77067                   HOUSTON TX 77067                 HOUSTON TX 77010


                                                                    TAYLOR R ROMERO
ELIZABETH C FREEMAN                RYAN E CHAPPLE
                                                                    CAIRN & SKARNULIS PLLC
JACKSON WALKER LLP                 CAIRN & SKARNULIS PLLC
                                                                    400 W 15TH ST STE 900
1401 MCKINNEY ST STE 1900          400 W 15TH ST STE 900
                                                                    AUSTIN TX 78701
HOUSTON TX 77010                   AUSTIN TX 78701

                                   ABIGAIL RUSHING RYAN AAG         JASON B BINFORD
RANDY W WILLIAMS                                                    OFFICE OF THE AG OF TEXAS
                                   OFFICE OF THE AG OF TEXAS
BYMAN & ASSOCIATES PLLC                                             BANKRUPTCY & COLLECTIONS DIV
                                   BANKRUPTCY & COLLECTIONS DIV
7924 BRDWAY STE 104                                                 P O BOX 12548-MC 008
                                   PO BOX 12548-MC 008
PEARLAND TX 775                                                     AUSTIN TEXAS 78711-2548
                                   AUSTIN TX 78711-2548
                                                                    ANNA DEAN KAMINS
L LEE THWEATT
                                   JOSEPH D TERRY                   KAMINS LAW FIRM PLLC
ONE GREENWAY PLAZA STE 100
                                   ONE GREENWAY PLAZA STE 100       2925 RICHMOND AVENUE STE 1200
HOUSTON TX 77046-0102
                                   HOUSTON TX 77046-0102            HOUSTON TX 77098

                                                                    JUAN A SOLIS
STEPHEN R WALKER                   GREGORY J FINNEY
                                                                    LAW OFFICES OF MANUEL SOLIS PC
LAW OFFICES OF MANUEL SOLIS PC     LAW OFFICES OF MANUEL SOLIS PC
                                                                    6657 NAVIGATION BLVD
6657 NAVIGATION BLVD               6657 NAVIGATION BLVD
                                                                    HOUSTON TX 77011
HOUSTON TX 77011                   HOUSTON TX 77011

                                                                    MATTHEW O GREENBERG
BYRON C ALFRED                     RYAN H ZEHL
                                                                    ZEHL & ASSOCIATES PC
2019 WICHITA ST                    ZEHL & ASSOCIATES PC
                                                                    2700 POST OAK BLVD STE 1000
HOUSTON TX 77004                   2700 POST OAK BLVD STE 1000
                                                                    HOUSTON TX 77056
                                   HOUSTON TX 77056

                                   GREGORY F COX                    MICHAEL DOWNEY
MATT L MARTIN
                                   MOSTYLN LAW                      MOSTYLN LAW
ZEHL & ASSOCIATES PC
                                   3810 WEST ALABAMA ST             3810 WEST ALABAMA ST
2700 POST OAK BLVD STE 1000
                                   HOUSTON TX 77027                 HOUSTON TX 77027
HOUSTON TX 77056
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CATHRYN J SCHEXNAIDER                                                 MATHEW MENDOZA
                                   CHANCE A MCMILLAN
MOSTYLN LAW                                                           MCMILLAN FIRM PLLC
                                   MCMILLAN FIRM PLLC
3810 WEST ALABAMA ST                                                  440 LOUISIANA ST STE 1200
                                   440 LOUISIANA ST STE 1200
HOUSTON TX 77027                                                      HOUSTON TX 77002-1691
                                   HOUSTON TX 77002-1691

ANTHONY G BUZBEE                   CHRISTOPHER J LEAVITT              RYAN S PIGG
JP MORGAN CHASE TOWER              JP MORGAN CHASE TOWER              JP MORGAN CHASE TOWER
600 TRAVIS ST STE 7300             600 TRAVIS ST STE 7300             600 TRAVIS ST STE 7300
HOUSTON TX 77002                   HOUSTON TX 77002                   HOUSTON TX 77002


JOHN J. RUTTER                     KARL P LONG
                                                                      BILAAL BADAT
ROETZEL & ANDRESS, LPA             800 COMMERCE ST
                                                                      4151 SOUTHWEST FWY STE 320
222 SOUTH MAIN STREET              HOUSTON TX 77002
                                                                      HOUSTON TX 77027
AKRON, OH 44308

MARTY HERRING                                                         MICHAEL TATE BARKLEY
                                   CAMERON R TEBO
MARTY HERRING & ASSOCIATES                                            BAIN & BARKLEY
                                   MARTY HERRING & ASSOCIATES
1616 S VOSS RD STE 890                                                14090 SOUTHWEST FWY STE 450
                                   1616 S VOSS RD STE 890
HOUSTON TX 77057                                                      SUGAR LAND TX 77478
                                   HOUSTON TX 77057

KARL R SCHNEIDER                   BRETT ANTHONY                      ADAM ANTHONY
BAIN & BARKLEY                     ANTHONY PETERSON LLP               ANTHONY PETERSON LLP
14090 SOUTHWEST FWY STE 450        500 NORTH WATER ST STE 1000        500 NORTH WATER ST STE 1000
SUGAR LAND TX 77478                CORPUS CHRISTI TX 78401            CORPUS CHRISTI TX 78401

                                                                      VINCE RYAN
DONALD PETERSON                    RUBEN BONILLA JR                   HARRIS COUNTY ATTORNEY
ANTHONY PETERSON LLP               BONILLA & CHAPPA PC                ENVIRONMENTAL GROUP
500 NORTH WATER ST STE 1000        2600 GESSNER RD STE 136            1019 CONGRESS 15TH FL
CORPUS CHRISTI TX 78401            HOUSTON TX 77080                   HOUSTON TX 77002
SARAH JANE UTLEY                   KATHY PORTER
HARRIS COUNTY ATTORNEY             AIR COMPLIANCE COORDINATOR         ROBERT S KWOK
                                   HARRIS COUNTY POLLUTION            9805 KATY FWY STE 850
ENVIRONMENTAL GROUP                CONTROL SVCS DEPT
1019 CONGRESS 15TH FLOOR                                              HOUSTON TX 77024
                                   101 SOUTH RICHEY STE H
HOUSTON TX 77002                   PASADENA TX 77506


                                   JOSHUA R LEAL                      ALEX P BOYLHART
J RYAN LOYA
                                   9805 KATY FWY STE 850              9805 KATY FWY STE 850
9805 KATY FWY STE 850
                                   HOUSTON TX 77024                   HOUSTON TX 77024
HOUSTON TX 77024

                                                                      JAMIL THOMAS
WILLIAM W HOKE (OF COUNSEL)        HUSEIN HADI
                                                                      SEDRICK STAGG
9805 KATY FWY STE 850              SEDRICK STAGG
                                                                      7100 REGENCY SQUARE BLVD STE 140
HOUSTON TX 77024                   7100 REGENCY SQUARE BLVD STE 140
                                                                      HOUSTON TX 77036
                                   HOUSTON TX 77036

CARNEGIE H MIMS III                                                   JOEL C SIMON
SEDRICK STAGG                      ERIC DICK LLM                      FERNELIUS SIMON MACE
                                                                      ROBERTSON PERDUE PLLC
7100 REGENCY SQUARE BLVD STE 140   3701 BROOKWOODS DR
                                                                      4119 MONTROSE BLVD STE 500
HOUSTON TX 77036                   HOUSTON TX 77092
                                                                      HOUSTON TX 77006
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                                   RYAN M PERDUE                    DEREK H POTTS
STEPHEN M FERNELIUS
                                   FERNELIUS SIMON MACE             POTTS LAW FIRM
FERNELIUS SIMON MACE
                                   ROBERTSON PERDUE PLLC
ROBERTSON PERDUE PLLC                                               3737 BUFFALO SPEEDWAY STE 1900
                                   4119 MONTROSE BLVD STE 500
4119 MONTROSE BLVD STE 500                                          HOUSTON TX 77098
                                   HOUSTON TX 77006
HOUSTON TX 77006

POTTS LAW FIRM                     MICHAEL J BINS                   RILEY L BURNETT JR
3737 BUFFALO SPEEDWAY STE 1900     POTTS LAW FIRM                   BURNETT LAW FIRM
HOUSTON TX 77098                   3737 BUFFALO SPEEDWAY STE 1900   3737 BUFFALO SPEEDWAY STE 1850
                                   HOUSTON TX 77098                 HOUSTON TX 77098


PEGAH RAHGOZAR                     LESTER B NICHOLS III             KURT B ARNOLD
2825 WILCREST DR STE 515           2825 WILCREST DR STE 515         ARNOLD & ITKIN LLP
HOUSTON TX 77045                   HOUSTON TX 77045                 6009 MEMORIAL DR
                                                                    HOUSTON TX 77007

JASON A ITKIN                      J KYLE FINDLEY                   KALA F SELLERS
ARNOLD & ITKIN LLP                 ARNOLD & ITKIN LLP               ARNOLD & ITKIN LLP
6009 MEMORIAL DR                   6009 MEMORIAL DR                 6009 MEMORIAL DR
HOUSTON TX 77007                   HOUSTON TX 77007                 HOUSTON TX 77007

ADAM D LEWIS
                                   CHRISTOPHER L BELL               GREGORY F COX
ARNOLD & ITKIN LLP
                                   GREENBERG TRAURIG LLP            MOSTYN LAW
6009 MEMORIAL DR
                                   1000 LOUISIANA ST STE 1700       3810 WEST ALABAMA ST
HOUSTON TX 77007
                                   HOUSTON TX 77002                 HOUSTON TX 77027

MICHAEL A DOWNEY                   CAROLINE L MAIDA                 MARY-OLGA LOVETT
MOSTYN LAW                         MOSTYN LAW                       GREENBERG TRAURIG LLP
3810 WEST ALABAMA ST               3810 WEST ALABAMA ST             1000 LOUISIANA ST STE 1700
HOUSTON TX 77027                   HOUSTON TX 77027                 HOUSTON TX 77002

PAUL B KERLIN                      CHRISTOPHER M LAVIGNE            KARL D BURRER
GREENBERG TRAURIG LLP              GREENBERG TRAURIG LLP            GREENBERG TRAURIG LLP
1000 LOUISIANA ST STE 1700         2200 ROSS AVE STE 5200           1000 LOUISIANA ST STE 1700
HOUSTON TX 77002                   DALLAS TX 75201                  HOUSTON TX 77002

JAMES R JONES                      JOHN V MCCOY
                                   MCCOY LEAVITT & LASKEY           ANA M ENE
4185 TECHNOLOGY FOREST BLVD
                                   N19 W242000 RIVERWOOD DR         CLARK LOVE & HUTSON PLLC
STE 160
                                   STE 125                          440 LOUISIANA STE 1700
THE WOODLANDS TX 77381             WAUKESHA WI 53188                HOUSTON TX 77002

MATHESON TRI-GAS INC               AUTOMATION PLUS
                                                                    ADAM D PEAVY
ATTN: GENERAL COUNSEL              ATTN: FRANK LOMELO
                                                                    CLARK LOVE & HUTSON PLLC
150 ALLEN RD - STE 302             8930 LAWNDALE ST STE F
                                                                    440 LOUISIANA STE 1700
BASKING RIDGE NJ 07920             HOUSTON TX 77012
                                                                    HOUSTON TX 77002

KEVIN M MADDEN                     MARK W MORAN                     ARC SPECIALTIES INC
LAW OFFICES OF KEVIN M MADDEN      MUNCK WILSON MANDALA LLP         ATTN: L DON KNIGHT
5225 KATY FWY STE 520              12770 COIT RD STE 600            8100 WASHINGTON STE 1000
HOUSTON TX 77007                   DALLAS TX 75251                  HOUSTON TX 77007
                  Case 20-30967 Document 312 Filed in TXSB on 05/30/20 Page 20 of 22
                                     CENTERPOINT ENERGY SERVICE          CENTERPOINT ENERGY SERVICES
ARC SPECIALTIES INC                  COMPANY LCC                         INC
                                     ATTN: GENERAL COUNSEL               ATTN: GENERAL COUNSEL
1730 STEBBINS DR
                                     1111 LOUISIANA ST 39TH FLOOR        1111 LOUISIANA ST
HOUSTON TX 7704                      HOUSTON TX 77002                    39TH FLOOR
                                                                         HOUSTON TX 77002
CENTERPOINT ENERGY RESOURCES
                                     CENTERPOINT ENERGY GAS
CORP                                                                     STM & ASSOCIATES
                                     SERVICES INC – NATURAL GAS
ATTN: GENERAL COUNSEL
                                     ATTN: GENERAL COUNSEL               8554 KATY FWY STE 112
1111 LOUISIANA ST 39TH FLOOR
                                     1111 LOUISIANA ST 39TH FLOOR        HOUSTON TX 77024
HOUSTON TX 77002
                                     HOUSTON TX 77002

3M                                   DETCON
                                                                         DETCON
3M CORPORATE HEADQUARTERS            3M CENTER BLDG 224-5N40
                                                                         3200 RESEARCH FOREST DR
2501 HUDSON RD                       SAINT PAUL MN 55144-1001
                                                                         THE WOODLANDS TX 77381-4219
MAPLEWOOD MN 55144

DETCON                                                                   FIRESTONE CRYOGENIC EQUIPMENT
                                     FIRESTONE CRYOGENIC EQUIPMENT
4055 TECHNOLOGY FOREST BLVD                                              ATTN: LINDA PLUMMER
                                     14954 EAST DR
THE WOODLANDS TX 77381                                                   12446 CUTTEN RD
                                     CONROE TX 77302-6600
                                                                         HOUSTON TX 77066

RADNOR                               OLDHAM A/K/A TELEDYNE GAS & FLAME   WESTERN INTERNATIONAL GAS &
AIRGAS INC                           AMERICAS – THE WOODLANDS            CYLINDER INC
259 NORTH RADNOR-CHESTER RD          DETCON INC                          ATTN: DENISE C HAUGEN
STE 100                              4055 TECHNOLOGY FOREST BLVD         7173 HIGHWAY 159 E PO BOX 668
RADNOR PA 19087-5283                 THE WOODLANDS TX 77381              BELLVILLE TX 77418

MILLER SCAMARDI AND CARRABA                                              NATIONAL ALLOY SOLUTIONS
                                     B-W GRINDING SERVICE, INC.          C/O GONZALEZ & ASSOCIATES
ATTN: DAVID MILLER
                                                                         ATTN: EDWARD GONZALEZ
6525 WASHINGTON AVE                  5807 NUNN ST.
                                                                         2205 FULTON ST
HOUSTON TEXAS 77007                  HOUSTON, TX 77087                   HOUSTON TX 77009

KENNAMETAL INC
                                                                         VERTECS
ATTN: MICHELLE R KEATING             TECHNICAL ENGINEERING LLC
                                                                         8402 RAYSON RD
525 WILLIAM PENN PLACE STE 3300      100 CHAPEL RD
                                                                         HOUSTON TX 77080
PITTSBURGH PA 15219                  MANCHESTER CT 06042

ABB
                                                                         AMERICAN EXPRESS
13609 INDUSTRIAL RD GATE 5           ACCUWELD INC.
                                                                         THREE WORLD FINANCIAL CENTER
COMPLEX 3G WEST                      845 BUSCHONG
                                                                         200 VESEY S
HOUSTON TX 77015                     HOUSTON, TX 77039-1001
                                                                         NEW YORK, NY 10285



BASS TOOL & SUPPLY, INC.             CARBIDE & METAL, C&M TECH LLC
                                                                         CORROSION MATERIALS
2300 FAIRWAY PARK DR.                7425 CARBIDE LANE
                                                                         22416 NETWORK PLACE
HOUSTON, TX 77092                    HOUSTON, TX 77040
                                                                         CHICAGO, IL 60673



GROVES INDUSTRIAL SUPPLY             GULF COAST METAL SALES              HOUSTON PLATING COMPANY LLP
7301 PINEMONT DR.                    PO BOX 7310                         PO BOX 418
HOUSTON, TX 77040                    HOUSTON, TX 77248                   SOUTH HOUSTON, TX 77587
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LARK HEAT TREAT, INC.                LIBERTY FORGE, INC.                       MATHESON TRI-GAS, INC.
6640 MAYNARD                         PO DRAWER 1210                            10430 MULA ROAD
HOUSTON, TX 77041                    LIBERTY, TX 77575                         STAFFORD, TX 77477



MYERS TECHNOLOGY CO. LLC             NATIONAL SPECIALTY ALLOWS                 PARISH INTERNATIONAL, INC.
2150 TOUCHY AVE.                     18250 KEITH HARROW                        1075 ZACH RAD
ELK GROVE VILLAGE, IL 60007          HOUSTON, TX 77084                         HEMPSTEAD, TX 77445


                                     PT HUAYUE NICKEL COBALT
THYSSENKRUP MATERIALS, NA            GEDUNG WISMA MULIA LT. 41 JI              R&M FORGE & FITTINGS
                                     .JEND GATOT
10648 WEST LITTLE YORK RD            SUBROTO NO. 42, KUNINGAN BARAT, MAMPANG
                                                                               6455 WESCO WAY
HOUSTON, TX 77041                    PRAPATAN. 12710 JAKARTA,                  HOUSTON, TX 77041
                                     INDONESIA



RS MACHINE COMPANY, LLC              VERTECS                                   VICTORY METALS, LLC
6926 GUHN ROAD                       PO BOX 801523                             12335 KINGSRIDE LN
HOUSTON, TX 77040                    HOUSTON, TX 77280                         HOUSTON, TX 77024


                                                                               JACK SKAGGS
VINATECH INDUSTRIES, INC.            WEB INDUSTRIAL DIAMOND CO. INC.           JASON S. SCHULZE
5439 BRITTMORE RD.                   2117 N. HOUSTON AVE.                      LYONDELLBASELL TOWER
HOUSTON, TX 77041                    PEARLAND, TX 77581                        1221 MCKINNEY, STE. 2900
                                                                               HOUSTON, TEXAS 77010

                                                                               SCORE VALVE SERVICES INC.
ACCROSEAL                            MSO SEALS & GASKETS INC.
                                                                               BUILDING B
316 BRIGGS STREET                    4702 STEFFANI LANE
                                                                               6410 LANGFIELD ROAD
VICKSBURG, MI 49097                  HOUSTON, TX 77041
                                                                               HOUSTON, TX 77092


                                     WATSON VALVE SERVICES AUSTRALIA
THE NUT PLACE                                                                  AFCO
                                     13 LINK CRESENT
6605 GESSNER ROAD                                                              5600 NORTH RIVER ROADSUITE 400
                                     COOLUM BEACH, QUEENSLAND 4573
HOUSTON, TX 77040                                                              DES PLAINES, IL 60018


                                                                               AMUR HMP, LLC
AIV, LPL
                                     AMERICAN HELI-ARC                         5, MASHINOSTROITELIEI SHOSSE, AMURSK
7140 W. SAM HOUSTON PKWY N
                                     5009 PINEMONT DR                          KHABAROVSK KRAI, THE RUSSIAN
SUITE 100
                                     HOUSTON, TX 77092                         FEDERATION
HOUSTON, TX 77040
                                                                               682640


DIRECT BOLT AND SUPPLY               EGC ENTERPRISES                           GARLOCK SEALING TECH
7117 BELGOLDSUITE D                  140 PARKER CT                             13288 COLLECTION CENTER DR
HOUSTON, TX 77066                    CHARDON, OH 44024                         CHICAGO, IL 60693



GHX INDUSTRIAL LLC
                                     GRAINGER                                  HYTORC
3440 SOUTH SAM HOUSTON PARKWAY
                                     PO BOX 419267                             12420 TEXACO ROAD
SUITE 300
                                     KANSAS CITY, MO 64141                     HOUSTON, TX 77013
HOUSTON, TX 77047
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INDUSTRIAL BEARING AND SERVICES     LAMONS GASKET COMPANY            SUHM SPRING WORKS, LTD
 PO BOX 41325                       7300 AIRPORT BLVD                14650 HEATHROW FOREST PARKWAY
HOUSTON, TX 77241                   HOUSTON, TX 77061                HOUSTON, TX 77032



SURFACE PREPARATION                 TEADIT                           U-LINE, INC.
5973 SOUTH LOOP EAST                10545 RED BLUFF ROAD             2200 S. LAKESIDE DRIVE
HOUSTON, TX 77033                   PASADENA, TX 77507               CHICAGO, IL 60693


                                                                     ERNEST P. GIEGER, JR.
UNIVERSE TECHNICAL TRANSLATE        VANAIRE INC                      BRENDAN P. DOHERTY
9225 KATY FREEWAYSUITE 400          840 CLARK DRIVE                  GIEGER, LABORDE & LAPEROUSE, LLC
HOUSTON, TX 77024                   GLADSTONE, MI 49837              5151 SAN FELIPE STREET, SUITE 750
                                                                     HOUSTON, TEXAS 77056

MATTHEW B. PROBUS
                                    JOHN ROBERT JONES
WAUSON | PROBUS                                                      Watson Grinding & Manufacturing Co.
                                    J. R. JONES LAW PLLC
ONE SUGAR CREEK CENTER BLVD.,                                        4525 Gessner Road
                                    6026 REMSON HOLLOW LANE
SUITE 880                                                            Houston, TX 77041
                                    KATY, TX 77494
SUGAR LAND, TEXAS 77478
